UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

LOUISIANA FARM BUREAU CASUALTY CASE NO: 3:17-cv-00286-JWD-EWD
INSURANCE COMPANY

VERSUS

FCA US LLC

AFFIDAVIT OF KRIS W KRUEGER

Kris W Krueger, being duly sworn, states:

1. I am employed as Senior Staff Counsel — Warranty Litigation for FCA US LLC
(“FCA US”)(formerly Chrysler Group LLC). My business address is FCA US LLC, 1000
Chrysler Drive, Auburn Hills, Michigan 48326-2766. I have personal knowledge of the facts and
circumstances set forth in this affidavit and state that they are true and accurate.

2. I am informed that this affidavit is being provided in support of FCA US’s motion
to quash plaintiff's subpoena of William Janin to appear for deposition and to produce the
vehicle inspection report relating to Plaintiff's vehicle, which was withheld from production by
FCA US based on a claim of attorney work product privilege.

3. I am aware that the subject vehicle investigation report was created as a result of
an investigation ordered by or at the direction of a case manager in FCA US’s Office of the
General Counsel, and that the investigation originated from Plaintiff's contact to FCA US’s
Customer Relations department reporting a vehicle fire and an alleged product defect, which was
anticipated to result in litigation.

4. I have been informed that FCA Us has asserted no claim of privilege over and has

produced to Plaintiff the Customer Assistance Inquiry Record (CAIR) print report memorializing
Plaintiff's contact to FCA US, as well as all other non-privileged materials associated with that
CAIR, which are comprised of correspondence and materials sent by Plaintiff, and the available
vehicle inspection photographs.

5. Certain customer contacts to FCA US that are expected to result in a legal claim
or litigation, based on specifically identified criteria such as those involving a fire and an
allegation of product defect, are referred to case managers in FCA US’s Office of the General
Counsel for analysis and further handling.

6. In this case, because the incident Plaintiff reported to FCA US involved a fire and
Plaintiff alleged that a product defect caused the fire, the matter was referred to the legal
department.

7, After evaluation of each matter referred from the Customer Relations department,
the assigned FCA US attorney may, when deemed appropriate under the circumstances, order
that an investigation be conducted, and any resulting report is forwarded to the attorney who
ordered it.

8. The motivating purpose for such an investigation and the creation of an
investigation report is to prepare for and to aid FCA US in anticipated future litigation, which
can and often does result from events involving FCA US’s vehicles, such as occurred in this
case.

9. Here, at the request and direction of the FCA US Case Manager who assessed
Plaintiff's contact, an investigation of Plaintiffs vehicle was conducted by an investigator—
William Janin—from Engineering Analysis Associates (EAA), a firm sub-contracted by FCA

US. The investigator then prepared an investigation report, which was sent to the Case Manager
who ordered the investigation. The motivating purpose for the investigation and the creation of
the investigation report was to prepare for and to aid FCA US in anticipated future litigation.

10. I am informed that Plaintiff claims that the EAA investigator is an FCA US
employee, which is incorrect. Although William Janin used to be an FCA US employee, has not
been employed with FCA US since July 1, 2016.

11. At present, there is no plan to call the EAA investigator to testify in any

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KRIS KRUEGER

proceeding.

 

Subscribed and sworn to before me
in Oakland County, Michigan on
this 43 77) day of February, 2018

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Notary Public, State of Michigi a, County of

Acting in Oakland County
My Commission Expires: Ki A a / q

Patricia A. Kugler

Notary Public, Oakland County, michigan
Acting in Oakland County, Michigan

My Con mission Expires 8/3/2019

 
